                Case 18-19175-RAM            Doc 19      Filed 11/09/18        Page 1 of 3



                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division
                                    www.flsb.uscourts.gov

 In re:                                                  Case No. 18-19175-RAM

 CABRERA INVESTMENTS, LLC,                               Chapter 11

       Debtor.
 ___________________________________/

                DEBTOR’S MOTION TO VALUE AND DETERMINE SECURED
                       STATUS OF LIENS ON REAL PROPERTY

                           IMPORTANT NOTICE TO CREDITORS:
                     THIS IS A MOTION TO VALUE YOUR COLLATERAL

          (Modifying Rights of Readycap Lending LLC and Bank of America, N.A.)

           (Property Address: 6500 Cowpen Rd, Unit 203, Miami Lakes, FL 33014)

          Cabrera Investments, LLC (the “Debtor”), by counsel, pursuant to 11 U.S.C. § 506 and

Fed. R. Bankr. P. 3012, requests the Court enter an order valuing and determining the

secured status of liens on real property owned by the Debtor, as specified below, and states

as follows:

          1.    On July 30, 2018 (the “Petition Date”), the Debtor filed a voluntary petition

under Chapter 11 of the United States Bankruptcy Code. The Debtor is managing its affairs

as Debtor in Possession and no trustee or statutory committee has been appointed.

          2.    The subject of this Motion is the commercial real property located at 6500

Cowpen Road, Unit 203, Miami Lakes, FL 33014 (the “Property”), having a legal description

of:

          Unit 203, of COLONNADE AT MIAMI LAKES CONDOMINIUM
          ASSOCIATION, a Condominium, according to the Declaration of Condominium
          thereof, as recorded in O.R. Book 22921, Page 3088, of the Public Records of
          Miami-Dade County, Florida, as amended and/or supplemented by
          Amendment to Declaration of Condominium and Protective Covenants
          recorded on March 4, 2005 in O.R. Book 23137, Page 1038.



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                    Rodriguez Law, P.L., 900 West 49 Street, Suite 505, Hialeah, FL 33012
                 Case 18-19175-RAM                Doc 19       Filed 11/09/18         Page 2 of 3
                                                                                           Case No. 18-19175-RAM
                                                                                                       Page 2 of 3

         3.       The Property is alleged to be encumbered by a first mortgage in favor of

Readycap Lending LLC (“Readycap”) in the approximate amount of $541,352.84, which was

recorded on June 22, 2005 in Book 23499, Page 1749, rerecorded on December 27, 2007 in

OR Book 26130, Pages 0264, amended by an Amendment to Mortgage recorded February

25, 2013 in OR Book 4910, Page 4910, and assigned by Assignment of Mortgage on July 16,

2014 in Book 29231, Page 2160 in the Public Records of Miami-Dade County, Florida (the

“First Mortgage”).

         4.       The Property is also encumbered by a second mortgage in favor of Bank of

America, N.A. formally known as MBNA America (Delaware) N.A. (“BOA”) in the approximate

amount of $323,101.93, recorded on May 10, 2006, in Book 24511, Page 3022, in the Public

Records of Miami-Dade County, Florida (the “Second Mortgage”). See Claim # 1.

         5.       The Debtor seeks to value the Property securing the above-referenced

mortgages, pursuant to 11 U.S.C. § 506(d), for the purpose of modifying all of the liens

referenced above, with respect to the Property under 11 U.S.C. § 1123(b)(5).

         6.       The Debtor the value of the Property is $303,000.00 determined by a written

appraisal1. Therefore, the Debtor seeks an order, in recordable form, valuing the Property at

$303,000.00, for purposes of 11 U.S.C. § 506 and for any other purpose(s) to be used at

confirmation.

         7.       Accordingly, as to the Readycap First Mortgage, the value of Readycap’s

secured interest in the Property is $303,000.00 and the value of Readycapt’s unsecured,

deficiency claim is $238,352.84.

         8.       The Debtor therefore requests that Readycap’s mortgage be classified as a

secured claim to the extent provided above and as a general unsecured claim for any


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          If an evidentiary hearing is ultimately required on this Motion, the Debtor will provide its written appraisal
to the parties.



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                                                 Rodriguez Law, P.L.
              Case 18-19175-RAM         Doc 19     Filed 11/09/18    Page 3 of 3
                                                                        Case No. 18-19175-RAM
                                                                                    Page 3 of 3

deficiency, regardless of the original classification as set forth in the Debtor’s schedules

and/or any proof of claim that may be filed.

       9.     As to the BOA Second Mortgage, the value of BOA’s secured interest in the

Property is $0.00 and the value of BOA’s unsecured, deficiency claim is $323,101.93.

       10.    The Debtor therefore requests that the BOA’s Second Mortgage be classified

as a wholly unsecured claim for the deficiency set forth above, regardless of the original

classification as set forth in the Debtor’s schedules and/or any proof of claim that may be

timely filed, and that the BOA’s Second Mortgage is therefore canceled.

       11.    The Debtor agrees that the Property may not be sold or refinanced without

proper notice and further order of the Court.

       WHEREFORE, the Debtor, Cabrera Investments, LLC, respectfully requests the Court

enter an order: (1) valuing the Property as set forth herein; (2) determining the secured status

of each of the liens referenced above, as set forth above; (3) determining that each lien is

classified as stated above; (4) canceling the MTGLQ Investors’ Second Mortgage, upon the

entry of the Debtor’s discharge; and (5) granting such other and further relief as the Court

deems just and proper.

       Dated: November 9, 2018                      Rodriguez Law, P.L.
                                                    Attorney for the Debtor
                                                    900 West 49 Street, Suite 505
                                                    Hialeah, Florida 33012
                                                    Telephone: (305) 262-8226
                                                    Facsimile: (305) 262-8229

                                                    By:__/s/ Ricardo A Rodriguez___
                                                           Ricardo A Rodriguez
                                                           Florida Bar No. 0496901




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                                       Rodriguez Law, P.L.
